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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

ACCESS 4 ALL, INC., a Florida not for profit
                                         :
corporation, and JOE HOUSTON, Individually,
                                         :
                                         :
            Plaintiffs,                  :
                                         :             Case No. 6:11-cv-350-Orl-19GJK
v.                                       :
                                         :
SCOTT P. GOLDKIN, an Individual,         :
                                         :
            Defendant.                   :
_______________________________________/ :
                                         :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

         Plaintiffs, ACCESS 4 ALL, INC., a Florida Non Profit Corporation, and JOE HOUSTON,

Individually, on their behalf and on behalf of all other individuals similarly situated, (sometimes

referred to as “Plaintiff” or “Plaintiffs”), hereby sue the Defendant, SCOTT P. GOLDKIN, an

Individual, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”) and Florida Accessability Code ("FAC").

1.       Plaintiff, ACCESS 4 ALL, INC.., is a non-profit corporation formed under the laws of the

         State of Florida. ACCESS 4 ALL, INC. maintains its principal office at 3200 Palm Aire

         Drive North Suite 505, Pompano Beach, FL 33069, Florida, in the County of Broward.

2.       Defendant’s property, Denny's Restaurant, 1446 W. International Speedway Blvd., Daytona

         Beach, Florida 32114, is located in the County of Volusia.
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3.       Venue is properly located in the Middle District of Florida because venue lies in the judicial

         district of the property situs. The Defendant’s property is located in and does business within

         this judicial district.

4.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

         jurisdiction over actions which arise from the Defendant’s violations of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

         § 2202.

5.       Plaintiff JOE HOUSTON is a Florida resident, is sui juris, and qualifies as an individual

         with disabilities as defined by the ADA. Plaintiff has visited the property which forms the

         basis of this lawsuit and plans to return to the property to avail himself of the goods and

         services offered to the public at the property, and to determine whether the property has been

         made ADA compliant. The Plaintiff has encountered architectural barriers at the subject

         property. The barriers to access at the property have endangered his safety. The Plaintiff is

         also a member of the Plaintiff organization, ACCESS 4 ALL, INC., discussed below in

         paragraph 6.

6.       Plaintiff ACCESS 4 ALL, INC., is a nonprofit Florida corporation. Members of this

         organization include individuals with disabilities as defined by the ADA, and are

         representative of a cross-section of the disabilities to be protected from discrimination by the

         ADA. The purpose of this organization is to represent the interest of its members by assuring

         places of public accommodation are accessible to and usable by the disabled and that its

         members are not discriminated against because of their disabilities. ACCESS 4 ALL, INC.

         and its members have suffered and will continue to suffer direct and indirect injury as a result


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         of the Defendant’s discrimination until the Defendant is compelled to comply with the

         requirements of the ADA. One or more of its members has suffered an injury that would

         allow it to bring suit in its own right. ACCESS 4 ALL, INC. has also been discriminated

         against because of its association with its disabled members and their claims. Plaintiffs are

         deterred from, and are denied the opportunity to participate and benefit from the goods,

         services, privileges, advantages, facilities and accommodations at Defendant's property equal

         to that afforded to other individuals. Plaintiffs are aware that it would be a futile gesture to

         attempt to visit Defendant's property if they wish to do so free of discrimination.

7.       Defendant owns, leases, leases to, or operates a place of public accommodation as defined

         by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

         Defendant is responsible for complying with the obligations of the ADA. The place of public

         accommodation that the Defendant owns, operates, leases or leases to is known as Denny's

         Restaurant, 1446 W. International Speedway Blvd., Daytona Beach, Florida 32114.

8.       ACCESS 4 ALL, INC. and JOE HOUSTON have a realistic, credible, existing and

         continuing threat of discrimination from the Defendant’s non-compliance with the ADA and

         FAC with respect to this property as described but not necessarily limited to the allegations

         in paragraph 10 of this Complaint. Plaintiffs have reasonable grounds to believe that they

         will continue to be subjected to discrimination in violation of the ADA by the Defendant.

         JOE HOUSTON desires to visit Denny's Restaurant not only to avail himself of the goods

         and services available at the property but to assure himself that this property is in compliance

         with the ADA and FAC so that he and others similarly situated will have full and equal

         enjoyment of the property without fear of discrimination.


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9.       The Defendant has discriminated against the individual Plaintiff and members of the

         corporate Plaintiff organization by denying them access to, and full and equal enjoyment of,

         the goods, services, facilities, privileges, advantages and/or accommodations of the

         buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.      The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

         violation of the ADA and FAC by failing to, inter alia, have accessible facilities by January

         26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts

         of $500,000 or less). A preliminary inspection of Denny's Restaurant has shown that

         violations exist. These violations include, but are not limited to:

         Parking

         1.    Where posted, signage at some of the designated accessible parking spaces are not
         mounted at sufficient heights in violation of section 4.6.4 of the ADAAG.

         2.     There are disabled use spaces that do not have clear and level access aisles provided,
         violating Sections 4.1.2, and 4.6.3 of the ADAAG.

         Entrance Access and Path of Travel

         1.  There are changes in levels of greater than ½ inch, violating Section 4.3.8 of the
         ADAAG.

         2.      A level landing is not provided at some of the accessible entrances violating Section
         4.13.6 of the ADAAG.

         3.      The doors at several of the building entrances are fitted with inaccessible hardware
         at the facility, in violation of Section 4.13.9 of the ADAAG.

         Access to Goods and Services

         1.     There is seating provided at the facility that does not comply with the standards
         prescribed in Section 4.32 of the ADAAG.




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       Restrooms

       1.     There are restrooms for public use at the facility without the required disabled use
       elements, in violation of several Sections of the ADAAG.

       2.    The grab-bars in the toilet room stalls do not comply with the requirements prescribed
       in Sections 4.17.6 and 4.26 of the ADAAG.

       3.  There are exposed pipes in restrooms at the facility, violating of Section 4.19.4 of the
       ADAAG.

       4.    There are dispensers provided for pubic use in the restroom, with controls outside the
       ranges prescribed in Section 4.27 of the ADAAG.

       5.     The clear floor space provided in the restroom violates the provisions of Sections
       4.2.1, 4.18.3 and 4.22 of the ADAAG.

       6.     There is a changing area provided for public use that does not comply with the
       requirements of the ADAAG.

11. The discriminatory violations described in paragraph 10 are not an exclusive list of the

   Defendant’s ADA and FAC violations. Plaintiffs require the inspection of the Defendant’s

   place of public accommodation in order to photograph and measure all of the discriminatory

   acts violating the ADA and all of the barriers to access. The individual Plaintiff, the

   members of the Plaintiff group, and all other individuals similarly situated, have been denied

   access to, and have been denied the benefits of services, programs and activities of the

   Defendant’s buildings and its facilities, and have otherwise been discriminated against and

   damaged by the Defendant because of the Defendant’s ADA violations, as set forth above.

   The individual Plaintiff, the members of the Plaintiff group and all others similarly situated

   will continue to suffer such discrimination, injury and damage without the immediate relief

   provided by the ADA as requested herein. In order to remedy this discriminatory situation,

   the Plaintiff requires an inspection of the Defendant’s place of public accommodation in


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   order to determine all of the areas of non-compliance with the Americans with Disabilities

   Act.

12. Defendant has discriminated against the individual and corporate Plaintiffs by denying them

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages

   and/or accommodations of its place of public accommodation or commercial facility in

   violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

   Defendant continues to discriminate against the Plaintiff, and all those similarly situated by

   failing to make reasonable modifications in policies, practices or procedures, when such

   modifications are necessary to afford all offered goods, services, facilities, privileges,

   advantages or accommodations to individuals with disabilities; and by failing to take such

   efforts that may be necessary to ensure that no individual with a disability is excluded, denied

   services, segregated or otherwise treated differently than other individuals because of the

   absence of auxiliary aids and services.

13. Plaintiffs are without adequate remedy at law and are suffering irreparable harm. Plaintiffs

   have retained the undersigned counsel and are entitled to recover attorney’s fees, costs and

   litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14. Defendant is required to remove the existing architectural barriers to the physically disabled

   when such removal is readily achievable for its place of public accommodation that have

   existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

   alteration to Defendant’s place of public accommodation since January 26, 1992, then the

   Defendant is required to ensure to the maximum extent feasible, that the altered portions of

   the facility are readily accessible to and useable by individuals with disabilities, including


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   individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is

   one which was designed and constructed for first occupancy subsequent to January 26, 1993,

   as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

   useable by individuals with disabilities as defined by the ADA.

15. Notice to Defendant is not required as a result of the Defendant’s failure to cure the

   violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by

   Plaintiffs or waived by the Defendant.

16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

   Injunctive Relief, including an order to require the Defendant to alter Denny's Restaurant to

   make those facilities readily accessible and useable to the Plaintiffs and all other persons with

   disabilities as defined by the ADA; or by closing the facility until such time as the Defendant

   cures its violations of the ADA and FAC.

WHEREFORE, Plaintiffs respectfully request:

   a. The Court issue a Declaratory Judgment that determines that the Defendant at the

       commencement of the subject lawsuit is in violation of Title III of the Americans with

       Disabilities Act, 42 U.S.C. § 12181 et seq.

   b. Injunctive relief against the Defendant including an order to make all readily achievable

       alterations to the facility; or to make such facility readily accessible to and usable by

       individuals with disabilities to the extent required by the ADA and FAC; and to require the

       Defendant to make reasonable modifications in policies, practices or procedures, when such

       modifications are necessary to afford all offered goods, services, facilities, privileges,


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    advantages or accommodations to individuals with disabilities; and by failing to take such

    stops that may be necessary to ensure that no individual with a disability is excluded, denied

    services, segregated or otherwise treated differently than other individuals because of the

    absence of auxiliary aids and services.

 c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

 d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

    the Americans with Disabilities Act.


                                           Respectfully Submitted,

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